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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                                 At Nashville


 UNITED STATES OF AMERICA,                |
                                          |        3:11-00012
                     PLAINTIFF            |        SENIOR JUDGE WISEMAN
                                          |
 V.                                       |
                                          |
 CHRIS YOUNG,                             |
                                          |
                     DEFENDANT            |




                  DEFENDANT CHRIS YOUNG’S MOTION FOR
           LEAVE TO JOIN AND ADOPT CERTAIN PRETRIAL PLEADINGS


              Comes Now, the Defendant, Chris Young, by and through his appointed

 counsel, Hallie H. McFadden, and respectfully moves this Honorable Court for leave to

 join and adopt certain pending pretrial pleadings filed by his co-defendants. Specifically

 Mr. Young requests that he be allowed to join and adopt the following:

              1.     Motion to Suppress Evidence Obtained Pursuant to Unlawful

 Wiretap (TT1) (Docket Entry 744).

              2.     Motion to Suppress Evidence Obtained Pursuant to Unlawful

 Wiretap (TT2) (Docket Entry 745).

              3.     Memorandum of Law in Support Motion to Suppress Evidence

 Obtained Pursuant to Unlawful Wiretaps: TT1, TT2, TT3, TT4, TT5, TT6, TT7, TT8,

 TT9, TT10, TT11 (Docket Entry 748); and




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